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Case 1:24-mj-01007-RT Document 7 Filed 09/23/24 Page 1of1 PagelD.30
AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT FILED IN THE
UNITED STATES DISTRICT COURT

ee DISTRICT OF HAWAII
District of Hawaii
istrict 0 awall SEP ? 3 2024 sis
gn
United States of America at (6. o'clock and OF nin A AM
V. II
) Case No. Mag. No. 24-1004" conn o Clerk
JESS KIESEL LEE )
)
)
Defendant a
Ma
ARREST WARRANT me
To: Any authorized law enforcement officer =

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) JESS KIESEL LEE
who is accused of an offense or violation based on the following document filed with the court:

J Indictment J Superseding Indictment J Information © Superseding Information wc omplaint

J Probation Violation Petition J Supervised Release Violation Petition Violation Notice J Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 842(i)(1) Possessing, as a convicted felon, an explosive that has been shipped or transported in or affecting
interstate or foreign commerce

18 U.S.C. § 844(i) Maliciously damaging, by means of explosives, property affecting interstate commerce

Vu tbeade

Rom A. Trader
United States Magistrate Judge

Date: 09/17/2024

City and state: Honolulu, Hawaii

Return

This warrant was received on (date) 09/ tory . and the person was arrested on (date) 0%/| (G /: ZOZY
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al (city and state)

pac: 04/27/2024 bidedae UA,

“At , ue officer's signature

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